Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 1 of 61 PageID #: 295
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 2 of 61 PageID #: 296
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 3 of 61 PageID #: 297
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 4 of 61 PageID #: 298
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 5 of 61 PageID #: 299
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 6 of 61 PageID #: 300
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 7 of 61 PageID #: 301
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 8 of 61 PageID #: 302
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 9 of 61 PageID #: 303
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 10 of 61 PageID #:
                                     304
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 11 of 61 PageID #:
                                     305
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 12 of 61 PageID #:
                                     306
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 13 of 61 PageID #:
                                     307
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 14 of 61 PageID #:
                                     308
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 15 of 61 PageID #:
                                     309
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 16 of 61 PageID #:
                                     310
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 17 of 61 PageID #:
                                     311
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 18 of 61 PageID #:
                                     312
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 19 of 61 PageID #:
                                     313
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 20 of 61 PageID #:
                                     314
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 21 of 61 PageID #:
                                     315
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 22 of 61 PageID #:
                                     316
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 23 of 61 PageID #:
                                     317
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 24 of 61 PageID #:
                                     318
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 25 of 61 PageID #:
                                     319
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 26 of 61 PageID #:
                                     320
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 27 of 61 PageID #:
                                     321
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 28 of 61 PageID #:
                                     322
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 29 of 61 PageID #:
                                     323
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 30 of 61 PageID #:
                                     324
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 31 of 61 PageID #:
                                     325
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 32 of 61 PageID #:
                                     326
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 33 of 61 PageID #:
                                     327
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 34 of 61 PageID #:
                                     328
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 35 of 61 PageID #:
                                     329
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 36 of 61 PageID #:
                                     330
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 37 of 61 PageID #:
                                     331
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 38 of 61 PageID #:
                                     332
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 39 of 61 PageID #:
                                     333
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 40 of 61 PageID #:
                                     334
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 41 of 61 PageID #:
                                     335
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 42 of 61 PageID #:
                                     336
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 43 of 61 PageID #:
                                     337
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 44 of 61 PageID #:
                                     338
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 45 of 61 PageID #:
                                     339
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 46 of 61 PageID #:
                                     340
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 47 of 61 PageID #:
                                     341
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 48 of 61 PageID #:
                                     342
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 49 of 61 PageID #:
                                     343
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 50 of 61 PageID #:
                                     344
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 51 of 61 PageID #:
                                     345
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 52 of 61 PageID #:
                                     346
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 53 of 61 PageID #:
                                     347
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 54 of 61 PageID #:
                                     348
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 55 of 61 PageID #:
                                     349
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 56 of 61 PageID #:
                                     350
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 57 of 61 PageID #:
                                     351
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 58 of 61 PageID #:
                                     352
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 59 of 61 PageID #:
                                     353
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 60 of 61 PageID #:
                                     354
Case 3:15-cr-00177-TAV-DCP Document 34-6 Filed 05/02/16 Page 61 of 61 PageID #:
                                     355
